                     IN THE SUPREME COURT OF NORTH CAROLINA

                                         2022-NCSC-12

                                          No. 270PA20

                                     Filed 11 February 2022

     STATE OF NORTH CAROLINA

                   v.
     DATORIUS LANE MCLYMORE


           On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

     of the Court of Appeals, No. COA19-428, 2020 WL 2130670 (N.C. Ct. App. May 5,

     2020) (unpublished), finding no error in a judgment entered on 26 July 2018 by Judge

     Claire V. Hill in Superior Court, Cumberland County. Heard in the Supreme Court

     on 1 September 2021.


           Joshua H. Stein, Attorney General, by Marc X. Sneed, Special Deputy Attorney
           General, for the State-appellee.

           Glenn Gerding, Appellate Defender, by Sterling Rozear, Assistant Appellate
           Defender, for defendant-appellant.


           EARLS, Justice.

¶1         This case requires us to decide whether the trial court committed reversible

     error in instructing the jury that the defendant, Datorius Lane McLymore, could not

     claim self-defense to justify his use of deadly force because he was also in violation of

     N.C.G.S. § 14-415.1, which makes it a Class G felony for an individual with a prior

     felony conviction to possess a firearm. In answering this question, we must interpret
                                      STATE V. MCLYMORE

                                          2022-NCSC-12

                                       Opinion of the Court



     the scope and meaning of certain provisions of North Carolina’s “Stand Your Ground”

     Law. Specifically, we must interpret a provision which states in relevant part that a

     defendant may not claim self-defense if he or she “used defensive force and . . . [w]as

     attempting to commit, committing, or escaping after the commission of a felony.”

     N.C.G.S. § 14-51.4 (2021). We conclude that this provision requires the State to prove

     an immediate causal nexus between a defendant’s attempt to commit, commission of,

     or escape after the commission of a felony and the circumstances giving rise to the

     defendant’s perceived need to use force.

¶2         Because it failed to instruct the jury on this causal nexus requirement, the trial

     court’s jury instructions were erroneous. Further, although McLymore admitted that

     he had previously been convicted of a felony offense and was possessing a firearm at

     the time he used deadly force, the trial court’s failure to properly instruct the jury

     denied him the opportunity to dispute the existence of a causal nexus between his

     violation of N.C.G.S. § 14-415.1 and his use of force and to assert any affirmative

     defenses. Because we do not interpret N.C.G.S. § 14-51.4(1) to categorically prohibit

     individuals with a prior felony conviction from ever using a firearm in self-defense,

     we cannot say that the trial court’s failure to instruct on the causal nexus

     requirement was not prejudicial with respect to McLymore’s purported violation of

     N.C.G.S. § 14-415.1.

¶3         However, at trial, McLymore was also convicted of another felony offense,
                                      STATE V. MCLYMORE

                                             2022-NCSC-12

                                           Opinion of the Court



     robbery with a dangerous weapon. This outcome and the uncontroverted facts

     conclusively establish that McLymore’s commission of robbery with a dangerous

     weapon immediately followed the confrontation during which he used deadly force.

     Under these circumstances, McLymore could not have been prejudiced by the trial

     court’s issuance of the erroneous jury instruction because, based on the jury’s verdict,

     the immediate causal nexus between his use of force and his commission of the

     disqualifying felony of robbery with a dangerous weapon was established. Thus,

     under N.C.G.S. § 14-51.4(1), he was disqualified from claiming the justification of

     self-defense. Accordingly, we modify and affirm the decision of the Court of Appeals.

                                      I.      Background.

¶4         In April 2014, McLymore was working as a door-to-door magazine salesman.

     After completing a sale, he used the proceeds to purchase laundry detergent and food.

     Shortly thereafter, he quit his job with the sales company. Later that day, his

     supervisor at the sales company, David Washington, met McLymore at a local hotel.

     The two left together in Washington’s vehicle. When Washington asked McLymore

     about the proceeds from his magazine sale, McLymore responded that he “spent it on

     food and washing powder.” According to McLymore, while the vehicle was stopped at

     a traffic light, Washington punched McLymore in his jaw, grabbed him by the shirt,

     and pushed him against the door. In response, McLymore pulled out a gun, “closed

     [his] eyes[,] and fired two” shots at Washington, killing him. McLymore then pulled
                                      STATE V. MCLYMORE

                                          2022-NCSC-12

                                        Opinion of the Court



     Washington’s body out of the driver’s seat, left it on the ground, and fled the scene in

     Washington’s vehicle. McLymore evaded police for over an hour before being

     apprehended.

¶5         On 5 January 2015, McLymore was indicted for the first-degree murder of

     Washington, felonious speeding to elude arrest, and robbery with a dangerous

     weapon for taking Washington’s vehicle. At trial, McLymore admitted that he had

     previously been convicted of multiple felony offenses including common law robbery,

     larceny of a firearm, and assault inflicting serious bodily injury. The trial court also

     admitted evidence that twenty days before McLymore shot Washington, McLymore

     was involved in another alleged robbery, during which he entered the victim’s house,

     fought with the victim over money, and then took the victim’s gun and shot him. The

     State presented evidence that McLymore used this same gun to shoot Washington.

¶6         At trial, McLymore did not dispute that he killed Washington. Instead, he

     claimed that he justifiably used deadly force in self-defense. During the charge

     conference, the trial court explained that it would instruct the jury on self-defense

     but that “it is disqualifying for self-defense under State [v.] Crump that he was a felon

     in possession of a firearm, which is a disqualifying felony [under N.C.G.S. § 14-

     51.4(1)].” McLymore objected, arguing that N.C.G.S. § 14-51.4(1) did not apply

     because he was claiming perfect self-defense under the common law, and that even if

     N.C.G.S. § 14-51.4(1) did apply, it would violate his rights to interpret this provision
                                      STATE V. MCLYMORE

                                            2022-NCSC-12

                                          Opinion of the Court



     to categorically bar individuals with prior felony convictions from ever using a firearm

     in self-defense. The trial court overruled his objection and instructed the jury, in

     relevant part, that

                  [t]he Defendant is not entitled to the benefit of self-defense
                  if he was committing the felony of possession of a firearm
                  by a felon. . . . [T]he State must prove beyond a reasonable
                  doubt, among other things, that the Defendant did not act
                  in self-defense, or that the Defendant was committing the
                  felony of possession of a firearm by felon if the Defendant
                  did act in self-defense.

     The jury found McLymore guilty of all charged offenses. He was sentenced to life

     without the possibility of parole.

¶7         On appeal, the Court of Appeals rejected McLymore’s argument that N.C.G.S.

     § 14-51.4 “only applies to statutory self-defense” as created by N.C.G.S. § 14-51.3 and

     not “common law self-defense,” which McLymore attempted to invoke at trial.1 State

     v. McLymore, No. COA19-428, 2020 WL 2130670, at *6 (N.C. Ct. App. May 5, 2020)

     (unpublished). According to the Court of Appeals, while another provision of the

     statutory law of self-defense expressly provided that it was “not intended to repeal or

     limit any other defense that may exist under the common law,” the General Assembly

     chose not to “carve out a [ ] common law exception” to sections 14-51.3 and 14-51.4.




           1  The Court of Appeals also held that the trial court did not plainly err when it
     admitted evidence relating to the earlier incident when McLymore allegedly shot a man
     during a robbery. State v. McLymore, No. COA19-428, 2020 WL 2130670, at *6 (N.C. Ct. App.
     May 5, 2020) (unpublished). This issue, however, is not before this Court.
                                      STATE V. MCLYMORE

                                          2022-NCSC-12

                                        Opinion of the Court



     Id. at *7. Therefore, the Court of Appeals concluded that sections 14-51.3 and 14-51.4

     wholly “supplant[ ]” the common law of self-defense

                  in situations where (1) the defendant “was attempting to
                  commit, committing, or escaping after the commission of a
                  felony”; (2) the defendant “[i]nitially provokes the use of
                  force against himself or herself” unless he or she was “in
                  imminent danger of death or serious bodily harm”; or (3)
                  “the person who was provoked continues or resumes the
                  use of force” after the defendant withdraws.

     Id. (alteration in original) (quoting N.C.G.S. § 14-51.4 (2019)). Applying the precedent

     it had established in State v. Crump, 259 N.C. App. 144 (2018), in which the Court of

     Appeals held that N.C.G.S. § 14-51.4(1) only required proof that a defendant was

     committing a felony at the time he or she used assertedly defensive force, the Court

     of Appeals concluded that McLymore was not entitled to invoke the statutory right to

     self-defense because “when [McLymore] shot Washington, he was committing the

     offense of possession of a firearm by a felon which is punishable as a Class G felony

     under N.C.[G.S. §] 14-415.1.” McLymore, 2020 WL 2130670, at *7.

¶8          This Court allowed McLymore’s petition for discretionary review.

     II.   Sections 14-51.3 and 14-51.4 supplant the common law of self-defense.

¶9          McLymore first argues that the Court of Appeals erred in concluding that

     N.C.G.S. § 14-51.4(1) applies in his case. McLymore contends that he invoked the

     common law right to self-defense, which he argues continues to exist separate and

     apart from the statutory right to self-defense created by N.C.G.S. § 14-51.3. Thus, in
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                           Opinion of the Court



       McLymore’s view, even if N.C.G.S. § 14-51.4(1) bars him from invoking the statutory

       right to self-defense, it does not disqualify him from justifying the use of defensive

       force by invoking what he asserts is his still-existing common law right to self-

       defense. In response, the State contends that the General Assembly has exercised its

       authority to displace the common law through statutory enactment and that once the

       General Assembly chose to codify the right to self-defense, the common law right to

       self-defense was entirely extinguished.

¶ 10          No one disputes that the General Assembly possesses the authority to displace

       the common law through legislative action. As we have previously explained, “the

       General Assembly is the policy-making agency of our government, and when it elects

       to legislate in respect to the subject matter of any common law rule, the statute

       supplants the common law rule and becomes the public policy of the State in respect

       to that particular matter.” McMichael v. Proctor, 243 N.C. 479, 483 (1956). Instead,

       the question is whether the General Assembly intended to add to the common law

       right to perfect self-defense or abrogate it in its entirety.

¶ 11          Although not expressly stated, the General Assembly’s intention to abolish the

       common law right to perfect self-defense is unmistakable. Our caselaw describes the

       common law of perfect self-defense as follows:

                            The law of perfect self-defense excuses a killing
                     altogether if, at the time of the killing, these four elements
                     existed:
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                         Opinion of the Court



                          (1) it appeared to defendant and he believed it to be
                    necessary to kill the deceased in order to save himself from
                    death or great bodily harm; and

                           (2) defendant’s belief was reasonable in that the
                    circumstances as they appeared to him at the time were
                    sufficient to create such a belief in the mind of a person of
                    ordinary firmness; and

                           (3) defendant was not the aggressor in bringing on
                    the affray, i.e., he did not aggressively and willingly enter
                    into the fight without legal excuse or provocation; and

                          (4) defendant did not use excessive force, i.e., did not
                    use more force than was necessary or reasonably appeared
                    to him to be necessary under the circumstances to protect
                    himself from death or great bodily harm.

       State v. Norris, 303 N.C. 526, 530 (1981). Section 14-51.3 closely tracks this earlier

       common law definition of the right to self-defense in providing that an individual may

       use force “against another when and to the extent that the person reasonably believes

       that the conduct is necessary to defend himself or herself or another against the

       other’s imminent use of unlawful force.” N.C.G.S. § 14-51.3(a) (2021). Further, as the

       Court of Appeals correctly explained, section 14-51.3 notably lacks a “carve out”

       explicitly conveying the General Assembly’s intention to preserve the common law.

       McLymore, 2020 WL 2130670, at *7. Together, these facts indicate that the General

       Assembly meant to replace the existing common law right to perfect self-defense with

       a new statutory right.

¶ 12         Accordingly, we conclude that after the General Assembly’s enactment of

       N.C.G.S. § 14-51.3, there is only one way a criminal defendant can claim perfect self-
                                            STATE V. MCLYMORE

                                                2022-NCSC-12

                                              Opinion of the Court



          defense: by invoking the statutory right to perfect self-defense. Section 14-51.3

          supplants the common law on all aspects of the law of self-defense addressed by its

          provisions.2 Section 14-51.4 applies to “[t]he justification described in . . . [N.C.]G.S.

          [§] 14-51.3.” N.C.G.S. § 14-51.4 (2021). Therefore, when a defendant in a criminal case

          claims perfect self-defense, the applicable provisions of N.C.G.S. § 14-51.3—and, by

          extension, the disqualifications provided under N.C.G.S. § 14-51.4—govern. Because

          McLymore claimed perfect self-defense, and the only right to perfect self-defense

          available in North Carolina was the right provided by statute, the trial court did not

          err in delivering an instruction on the felony disqualifier contained in N.C.G.S. § 14-

          51.4(1), which applies under the circumstances of this case.

       III.   The trial court erroneously stated the law of self-defense, but this error
                               could not have prejudiced McLymore.

¶ 13            Because we interpret subsection 14-51.4(1) to apply to McLymore’s claim of

          perfect self-defense, we next consider the scope of the felony disqualifier. According

          to McLymore, the trial court erred in failing to instruct the jury that the State was

          required to prove an immediate causal nexus between his commission of a felony

          offense and the circumstances giving rise to his perceived need to use defensive force.

          In his view, it would be absurd and contrary to the General Assembly’s intent to



                2 However, to the extent the relevant statutory provisions do not address an aspect of

          the common law of self-defense, the common law remains intact. See McMichael v. Proctor,
          243 N.C. 479, 483 (1956) (“So much of the common law as has not been abrogated or repealed
          by statute is in full force and effect within this State.”).
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                          Opinion of the Court



       interpret N.C.G.S. § 14-51.4(1) to categorically bar any individual previously

       convicted of a felony from ever using a firearm in self-defense. In response, the State

       argues first that McLymore failed to preserve the causal nexus argument and second

       that N.C.G.S. § 14-51.4(1), by its plain terms, does not require the State to prove

       anything more than that McLymore was committing a felony offense when he used

       defensive force. In the alternative, the State argues that even if N.C.G.S. § 14-51.4(1)

       incorporates a causal nexus requirement, McLymore could not have been prejudiced

       by the trial court’s misstatement of the law of self-defense.

¶ 14         We conclude that McLymore has preserved the causal nexus argument and

       that N.C.G.S. § 14-51.4(1) does incorporate a causal nexus requirement. The Court of

       Appeals’ decision to the contrary in State v. Crump, 259 N.C. App. 144 (2018) and

       subsequent decisions relying on Crump’s causal nexus holding are overruled.

       Accordingly, the trial court committed an instructional error when it misstated the

       requirements of the felony disqualifier at McLymore’s trial. However, for the reasons

       described below, we agree with the State that McLymore could not have been

       prejudiced.

       A. McLymore preserved his causal nexus argument.

¶ 15         At trial, McLymore objected to the trial court’s issuance of a jury instruction

       addressing the requirements of N.C.G.S. § 14-51.4(1). Broadly, he offered two grounds

       for his objection. First, he asserted that it was inappropriate to deliver any instruction
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                          Opinion of the Court



       on the felony disqualifier because he was invoking the common law right to self-

       defense, rather than the statutory right to self-defense. We have already rejected this

       argument. Second, he asserted that the trial court misstated the law of self-defense

       by instructing the jury that if it found he was violating N.C.G.S. § 14-415.1 when he

       used force against Washington, he was disqualified from attempting to justify his use

       of force by claiming self-defense. McLymore’s objection to the substance of the trial

       court’s self-defense instruction was sufficient to preserve the causal nexus argument

       for appellate review.

¶ 16         Rule 10 of the North Carolina Rules of Appellate Procedure contains a

       “specificity requirement.” State v. Bursell, 372 N.C. 196, 199 (2019). “In order to

       preserve an issue for appellate review, a party must have presented to the trial court

       a timely request, objection, or motion, stating the specific grounds for the ruling the

       party desired the court to make if the specific grounds were not apparent from the

       context.” N.C. R. App. P. 10(a)(1). Accordingly, if a party fails to state the grounds for

       an objection and the grounds are not “apparent from the context,” id., a party’s

       objection does not preserve an issue for appellate review. Applying Rule 10, we have

       held that an issue was unpreserved when the substance of a party’s objection at trial

       was either irreconcilable with or unrelated to the substance of the defendant’s

       argument on appeal. See, e.g., State v. Fair, 354 N.C. 131, 152 (2001) (holding that

       the defendant failed to preserve issue for appellate review because “defendant stated
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                           Opinion of the Court



       in no uncertain terms at trial that the evidence proffered was not character evidence,

       [yet] he now seeks to establish error on appeal by asserting that the evidence was

       indeed character evidence”); State v. Jones, 342 N.C. 523, 535 (1996) (holding that “a

       general objection to the admission of” certain evidence did not preserve entirely

       unrelated argument raised on appeal asserting that the “chain of custody of the

       [evidence] was broken”).

¶ 17         Rule 10’s specificity requirement serves two purposes. First, the specificity

       requirement “encourage[s] the parties to inform the trial court of errors in its

       instructions so that it can correct the instructions and cure any potential errors before

       the jury deliberates on the case and thereby eliminate the need for a new trial.” State

       v. Odom, 307 N.C. 655, 660 (1983); see also Bursell, 372 N.C. at 199 (“The specificity

       requirement in Rule 10(a)(1) prevents unnecessary retrials by calling possible error

       to the attention of the trial court so that the presiding judge may take corrective

       action if it is required.”). Second, the specificity requirement helps to “contextualize[ ]

       the objection for review on appeal, thereby enabling the appellate court to identify

       and thoroughly consider the specific legal question raised by the objecting party.”

       Bursell, 372 N.C. at 199. However, Rule 10 does not bind a party on appeal only to

       arguments identical to the ones offered in support of an objection at trial. If a party’s

       objection puts the trial court and opposing party on notice as to what action is being

       challenged and why the challenged action is thought to be erroneous—or if the what
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                           Opinion of the Court



       and the why are “apparent from the context,” N.C. R. App. P. 10(a)(1)—the specificity

       requirement has been satisfied.

¶ 18         In this case, the grounds McLymore offered in support of his objection at trial

       were related to and fairly encompass the causal nexus theory he advances on appeal.

       McLymore did not fail to “bring [this alleged error] to the trial court’s attention.” State

       v. Wiley, 355 N.C. 592, 615 (2002). At trial and at every subsequent stage of this

       proceeding, McLymore has argued that the trial court erred in delivering an

       instruction on N.C.G.S. § 14-51.4. In the alternative, he has consistently argued that

       if delivering an instruction on N.C.G.S. § 14-51.4 were appropriate, then the trial

       court misstated the scope and applicability of the felony disqualifier. This objection

       put the trial court on notice that McLymore believed (1) that the trial court would err

       if it delivered an instruction explaining the felony disqualifier in the way it had

       proposed, and (2) that this instruction was erroneous because it would mean that

       McLymore, and all individuals with a prior felony conviction, were categorically

       prohibited from ever using a firearm in self-defense. The trial court was afforded an

       opportunity to reconsider how it was characterizing N.C.G.S. § 14-51.4, and the State

       was afforded an opportunity to explain why it believed the trial court’s description of

       the law was accurate.

¶ 19         Further, the trial transcript demonstrates that the connection between

       McLymore’s objection and the existence (or lack thereof) of the causal nexus
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                          Opinion of the Court



       requirement was readily “apparent from the context.” N.C. R. App. P. 10(a)(1). At

       trial, in response to McLymore’s objection, the State argued that “based on recent

       case law, the State v. Crump [decision], the statutory disqualification would apply

       since the Defendant was a felon in possession of a firearm at the time of the offense.”

       The trial court then expressly relied on the holding of Crump to justify its decision to

       instruct the jury that “if they find that [McLymore] was committing the felony of

       possession of a firearm by a felon, then that disqualifies him from the self-defense.”

       These explicit references to Crump’s holding make clear that the parties and the trial

       court were all on notice at trial of the argument that N.C.G.S. § 14-51.4(1)

       incorporates a causal nexus requirement.

¶ 20         Accordingly, the requirements of N.C. R. App. P. 10(a)(1), including the

       specificity requirement, were met in this case. McLymore preserved the causal nexus

       argument for appellate review.

       B. Subsection 14-51.4(1) incorporates a causal nexus requirement.

¶ 21         Having determined that McLymore preserved the causal nexus argument, we

       next consider whether N.C.G.S. § 14-51.4(1) requires the State to prove an immediate

       causal nexus between the defendant’s commission of a felony offense and the

       circumstances giving rise to his or her use of force. We conclude that it does.

¶ 22         Section 14-51.4 provides that “[t]he justification described in [N.C.]G.S. [§] 14-

       51.2 and [N.C.]G.S. [§] 14-51.3 is not available to a person who used defensive force
                                       STATE V. MCLYMORE

                                           2022-NCSC-12

                                         Opinion of the Court



       and who . . . [w]as attempting to commit, committing, or escaping after the

       commission of a felony.” N.C.G.S. § 14-51.4 (2021). Admittedly, the plain language of

       the statute does not support McLymore’s position. However, “where a literal

       interpretation of the language of a statute will lead to absurd results, or contravene

       the manifest purpose of the Legislature, as otherwise expressed, the reason and

       purpose of the law shall control and the strict letter thereof shall be disregarded.”

       State v. Holloman, 369 N.C. 615, 628 (2017) (quoting State v. Barksdale, 181 N.C.

       621, 625 (1921)). A literal interpretation of N.C.G.S. § 14-51.4(1) would produce

       absurd consequences inconsistent with the General Assembly’s “manifest purpose.”

¶ 23         Subsection 14-51.4(1) was enacted by the General Assembly in 2011 as part of

       a statute titled in relevant part “An Act to Provide When a Person May Use Defensive

       Force.” S.L. 2011-268, 2011 N.C. Sess. Laws 1002. Commonly known as the “Stand

       Your Ground” Law, the Act “restate[d] the law [of self-defense] in some respects and

       broaden[ed] it in others.” John Rubin, The New Law of Self Defense?, North Carolina

       Criminal   Law:    A   UNC    School    of   Government    Blog   (Aug.   17,   2011),

       https://nccriminallaw.sog.unc.edu/the-new-law-of-self-defense.    Notably,   the   Act

       established that an individual who is lawfully in his or her home, motor vehicle, or

       workplace “does not have a duty to retreat from an intruder,” even before using deadly

       force, under most circumstances. N.C.G.S. §§ 14-51.2(f).      Similarly, under most

       circumstances there is no duty for a person to retreat “in any place he or she has the
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                          Opinion of the Court



       lawful right to be.” 14-51.3(a) (2021); see also State v. Coley, 375 N.C. 156, 161 (2020)

       (“Under [the Act] a person does not have a duty to retreat but may stand his ground

       against an intruder.”). The overall consequence of the Act was to make self-defense

       more widely available as a justification for the use of force in North Carolina.

¶ 24         The State contends that a literal interpretation of the felony disqualifier

       reflects “a sensible broadening of the common-law defensive force concept of fault,

       with the intended purpose being to limit the protections of the Act to the law-abiding.”

       The State is correct that the common law of self-defense required consideration of a

       defendant’s “fault” when determining if the defendant could justify his or her use of

       force as self-defense. However, a literal interpretation of the felony disqualifier is

       fundamentally inconsistent with common law principles.

¶ 25         At common law, a defendant’s “fault” was assessed solely by reference to that

       defendant’s role in precipitating the confrontation during which he or she used force.

       A defendant was entitled to use self-defense only “if he has not himself created the

       necessity for the assault or brought the trouble upon himself by some unlawful act.”

       State v. Pollard, 168 N.C. 116, 122 (1914) (emphases added). Thus, with very few

       exceptions, a defendant whose actions led to the confrontation during which he or she

       used force was precluded from claiming that his or her use of force was justified as

       an exercise of the right to self-defense. See State v. Bell, 338 N.C. 363, 387 (1994).

       But, at common law, no group of defendants was categorically prohibited from
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                          Opinion of the Court



       invoking the right to self-defense—a defendant was prohibited from invoking self-

       defense only if it was in some sense the defendant’s “fault” that the confrontation

       occurred.

¶ 26         In this light, McLymore’s proposed interpretation of N.C.G.S. § 14-51.4(1) is

       the one that reflects “a sensible broadening of the common-law defensive force concept

       of fault.” It reflects the reasonable presumption that a defendant who uses force in a

       confrontation which resulted from his or her “attempting to commit, committing, or

       escaping after the commission of a felony” contributed to the circumstances giving

       rise to the need to use force. N.C.G.S. § 14-51.4(1). This interpretation would expand

       the common law while adhering to its basic principles. By contrast, the State’s

       proposed interpretation of N.C.G.S. § 14-51.4(1) would reflect a profound rupture

       with the common law. The State’s proposed interpretation would transform the

       meaning of “fault” by eliminating the need to examine the defendant’s culpability for

       creating the circumstance giving rise to the defendant’s need to use defensive force.

¶ 27         Under the State’s proposed interpretation, “a woman in possession of a little

       more than one and a half ounces of marijuana, a felony in North Carolina, could not

       rely on self-defense to justify the use of defensive force if her abusive boyfriend, for

       reasons unrelated to her marijuana possession, began to beat and threaten to kill

       her.” John Rubin, The Statutory Felony Disqualification for Self-Defense, North

       Carolina Criminal Law: A UNC School of Government Blog (June 7, 2016),
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                           Opinion of the Court



       https://nccriminallaw.sog.unc.edu/statutory-felony-disqualification-self-defense. An

       individual who had previously been convicted of a felony and kept an antique rifle in

       his or her attic could not rely on self-defense to justify the use of defensive force if he

       or she was threatened by an armed intruder, even if the individual did not use that

       rifle or any other firearm in repelling the intrusion. In each of these cases, the

       individual claiming self-defense would in no way be at “fault” as that concept was

       understood at common law. Nonetheless, absent a causal nexus requirement, each

       individual would be required to choose between submitting to an attacker and

       submitting to a subsequent criminal conviction.

¶ 28         Of course, the General Assembly does possess the authority to alter or abrogate

       even fundamental common law principles through statutory enactment. Still,

       statutes which alter common law rules should be interpreted against the backdrop of

       the common law principles being displaced. See Seward v. Receivers of Seaboard Air

       Line Ry., 159 N.C. 241, 245–46 (1912) (“Whether the statute affirms the rule of the

       common law on the same point, or whether it supplements it, supersedes it, or

       displaces it, the legislative enactment must be construed with reference to the

       common law, for in this way alone is it possible to reach a just appreciation of its

       purpose and effect.” (quoting Henry Campbell Black, Handbook on the Construction

       and Interpretation of the Laws (1886))). It is doubtful that the General Assembly

       intended to completely disavow a fundamental common law principle in a statute
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                          Opinion of the Court



       which otherwise closely hews to the common law.

¶ 29         The State’s proposed interpretation of N.C.G.S. § 14-51.4(1) also raises

       substantial constitutional concerns. If self-defense is an “inherent right,” State v.

       Holland, 193 N.C. 713, 718 (1927), a statute which precludes defendants from

       claiming self-defense for reasons entirely unconnected to the circumstances giving

       rise to their need to use force would potentially tread upon rights guaranteed by the

       North Carolina Constitution. See N.C. Const. art. I, § 1 (“[A]ll persons . . . are endowed

       by their Creator with certain inalienable rights[ ] . . . among these are life, liberty,

       the enjoyment of the fruits of their own labor, and the pursuit of happiness.”);

       Cf. Perkins v. State, 576 So. 2d 1310, 1314 (Fla. 1991) (Kogan, J., concurring) (“The

       right to fend off an unprovoked and deadly attack is nothing less than the right to life

       itself.”). Although “[t]he state clearly has a compelling state interest in disallowing

       the use of self defense when a person’s own unprovoked, aggressive, and felonious

       acts set in motion an unbroken chain of events leading to a killing or other injury,”

       an interpretation of N.C.G.S. § 14-51.4(1) which allowed the State to deprive an

       individual of “the right to defend life and liberty” for other less compelling reasons

       would be on much shakier constitutional ground. Perkins, 576 So. 2d at 1314–15

       (Kogan, J., concurring).

¶ 30         The State’s proposed categorical bar on the use of self-defense for those

       engaged in the commission of any felony is inconsistent with longstanding common
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                          Opinion of the Court



       law principles, incongruous with legislative intent, raises significant constitutional

       issues, and would produce absurd results. Cf. Mayes v. State, 744 N.E.2d 390, 393
       (Ind. 2001) (“A literal application of the contemporaneous crime exception would

       nullify claims for self-defense in a variety of circumstances and produce absurd

       results in the process.”). Accordingly, we hold that in order to disqualify a defendant

       from justifying the use of force as self-defense pursuant to N.C.G.S. § 14-51.4(1), the

       State must prove the existence of an immediate causal nexus between the defendant’s

       disqualifying conduct and the confrontation during which the defendant used force.

       The State must introduce evidence that “but for the defendant” attempting to commit,

       committing, or escaping after the commission of a felony, “the confrontation resulting

       in injury to the victim would not have occurred.” Mayes, 744 N.E.2d at 394. Here, the

       trial court did not instruct the jury on this causal nexus requirement. Therefore, the

       jury instructions it delivered were erroneous.

       C. The trial court’s error was not prejudicial because the jury necessarily
          established an immediate causal nexus between McLymore’s use of
          force and his commission of a felony offense.

¶ 31         To establish that the trial court’s instructional error requires vacating his first-

       degree murder conviction, McLymore must demonstrate “a reasonable possibility

       that, had the error in question not been committed, a different result would have been

       reached at the trial out of which the appeal arises.” N.C.G.S. § 15A-1443(a) (2021).

       Ordinarily, due process requires allowing the jury to determine whether or not a
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                          Opinion of the Court



       defendant was engaged in disqualifying conduct bearing an immediate causal nexus

       to the circumstances giving rise to his or her use of force. See Apprendi v. New Jersey,

       530 U.S. 466, 477 (2000) (explaining every criminal defendant’s right to a have a jury

       determine “every fact necessary to constitute the crime with which he is charged”).

       However, under the circumstances of this case, we are able to conclude that the trial

       court’s instructional error could not have prejudiced McLymore.

¶ 32         The State’s primary argument is that McLymore could not have been

       prejudiced because he had previously been convicted of a felony offense and was in

       possession of a firearm when he shot Washington. Under North Carolina law, it is a

       Class G felony for “any person who has been convicted of a felony to purchase, own,

       possess, or have in his custody, care, or control any firearm or any weapon of mass

       death and destruction.” N.C.G.S. § 14-415.1(a) (2021). McLymore does not dispute

       that he had previously been convicted of multiple felony offenses and that he was

       possessing the firearm he used to shoot Washington. Still, these facts do not

       conclusively establish that McLymore could not have been prejudiced by the trial

       court’s failure to instruct the jury on the causal nexus requirement.

¶ 33         McLymore was not indicted for violating N.C.G.S. § 14-415.1. He was not

       afforded the opportunity to raise any affirmative defenses to the State’s assertion that

       he was committing a felony offense, such as the defense of necessity. See State v.

       Mercer, 373 N.C. 459, 463 (2020) (“[I]n narrow and extraordinary circumstances,
                                        STATE V. MCLYMORE

                                           2022-NCSC-12

                                         Opinion of the Court



       justification may be available as a defense to a charge under N.C.G.S. § 14-415.1.”).

       Further, the jury was not afforded the opportunity to decide whether McLymore’s

       possession of the firearm was causally connected to the initiation of a confrontation

       between himself and Washington, which is the operative question under N.C.G.S.

       § 14-51.4(1). To accept the State’s argument on this ground would be to effectively

       hold that all individuals with a prior felony conviction are forever barred from using

       a firearm in self-defense under any circumstances. This would be absurd.

¶ 34         However, the jury did determine beyond a reasonable doubt that McLymore

       was engaged in the commission of a different felony offense when he shot Washington:

       robbery with a dangerous weapon in violation of N.C.G.S. § 14-87. At trial, the trial

       court instructed the jury that

                    [i]f you find from the evidence beyond reasonable doubt
                    that on or about the alleged date the Defendant had in the
                    Defendant’s possession a firearm and took and carried
                    away property from the person or presence of a person
                    without that person’s voluntary consent by endangering or
                    threatening that person—threatening that person’s life
                    with the use or threatened [use] of a firearm, the
                    Defendant knowing that the Defendant was not entitled to
                    take the property and intending to deprive the person of its
                    use permanently, it would be your duty to return a verdict
                    of guilty. If you do not so find or have a reasonable doubt
                    as to one or more of these things, it would be your duty to
                    return a verdict of not guilty.
                                           STATE V. MCLYMORE

                                               2022-NCSC-12

                                            Opinion of the Court



       The jury found McLymore guilty of robbery with a dangerous weapon. 3 Because one

       of the elements of robbery with a dangerous weapon was McLymore’s use or

       threatened use of a firearm, the jury finding McLymore guilty of this offense meant

       that the jury determined beyond a reasonable doubt that McLymore’s felonious

       conduct was immediately causally connected to the circumstances giving rise to his

       shooting Washington. Based upon the outcome of McLymore’s trial, it is indisputable

       that there existed an immediate causal nexus between his felonious conduct and the

       confrontation during which he used assertedly defensive force, and the felony

       disqualifier applies to bar his claim of self-defense.

¶ 35          Stated another way, while the jury instruction the trial court gave on this issue

       was erroneous, a permissible jury instruction would state:

                     the Defendant is not entitled to the benefit of self-defense
                     if he was attempting to commit, committing, or escaping
                     after the commission of, the felony of robbery with a
                     dangerous weapon. . . . [T]he State must prove beyond a
                     reasonable doubt, among other things, that the Defendant

              3 “The essential elements of robbery with a dangerous weapon are: ‘(1) an unlawful

       taking or an attempt to take personal property from the person or in the presence of another,
       (2) by use or threatened use of a firearm or other dangerous weapon, (3) whereby the life of a
       person is endangered or threatened.’ ” State v. Haselden, 357 N.C. 1, 17 (2003) (quoting State
       v. Call, 349 N.C. 382, 417 (1998)); see also N.C.G.S. § 14-87 (2021). Further, “[t]o be found
       guilty of robbery with a dangerous weapon, the defendant's threatened use or use of a
       dangerous weapon must precede or be concomitant with the taking, or be so joined by time
       and circumstances with the taking as to be part of one continuous transaction.” State v. Olson,
       330 N.C. 557, 566 (1992). Thus, because self-defense is not a defense to this charge, and
       because the jury’s determination of guilt necessarily means the jury found McLymore’s use
       of a firearm temporally and causally connected to the felony offense, McLymore cannot argue
       that there is a reasonable possibility that a properly instructed jury would have returned a
       different verdict on the charge of robbery with a dangerous weapon.
                                         STATE V. MCLYMORE

                                              2022-NCSC-12

                                           Opinion of the Court



                     did not act in self-defense, or that the Defendant was
                     attempting to commit, committing, or escaping after the
                     commission of the felony of robbery with a dangerous
                     weapon if the Defendant did act in self-defense but that
                     there was an immediate causal connection between
                     Defendant’s use of force and his felonious conduct.

       Because the State did prove to the jury’s satisfaction that McLymore committed the

       felony offense of robbery with a deadly weapon, and based on the uncontroverted

       facts, McLymore cannot establish that he was prejudiced in any way by the trial

       court’s issuance of the legally erroneous jury instruction.

                                        IV.    Conclusion.

¶ 36           The trial court misstated the law of self-defense by failing to instruct the jury

       that the felony disqualifier contained in N.C.G.S. § 14-51.4(1) requires the State to

       prove an immediate causal nexus between the defendant’s disqualifying felonious

       conduct and the circumstances giving rise to the defendant’s use of defensive force.

       Nonetheless, McLymore cannot prove prejudice in this case because the jury

       determined beyond a reasonable doubt that his commission of robbery with a

       dangerous weapon was immediately causally connected to his shooting Washington.

       Accordingly, we modify and affirm the decision of the Court of Appeals.

               MODIFIED AND AFFIRMED.

               Justice BERGER did not participate in the consideration or decision of this

       case.
             Chief Justice NEWBY concurring in the result.


¶ 37         I agree with the majority’s determination that sections 14-51.3 and 14-51.4

       supplant the common law with respect to perfect self-defense. However, because

       defendant failed to preserve his causal nexus argument for appellate review, this

       Court should not address it. Further, even if defendant did preserve his causal nexus

       argument, section 14-51.4 does not require the State to prove a causal nexus between

       a defendant’s commission of a felony and his use of self-defense. Therefore, I do not

       join the portion of the majority’s opinion that places a causal nexus element into

       section 14-51.4.

¶ 38         “In order to preserve an issue for appellate review, a party must have

       presented to the trial court a timely request, objection, or motion, stating the specific

       grounds for the ruling the party desired the court to make if the specific grounds were

       not apparent from the context.” N.C. R. App. P. 10(a)(1).

                           The specificity requirement in Rule 10(a)(1)
                    prevents unnecessary retrials by calling possible error to
                    the attention of the trial court so that the presiding judge
                    may take corrective action if it is required. Moreover, a
                    specific objection discourages gamesmanship and prevents
                    parties from allowing evidence to be introduced or other
                    things to happen during a trial as a matter of trial strategy
                    and then assigning error to them if the strategy does not
                    work. Practically speaking, Rule 10(a)(1) contextualizes
                    the objection for review on appeal, thereby enabling the
                    appellate court to identify and thoroughly consider the
                    specific legal question raised by the objecting party.
                                         STATE V. MCLYMORE

                                             2022-NCSC-12

                                   Newby, C.J., concurring in the result



       State v. Bursell, 372 N.C. 196, 199, 827 S.E.2d 302, 305 (2019) (citations, internal

       quotation marks, and alterations omitted). Further, “[t]his Court has long held that

       where a theory argued on appeal was not raised before the trial court, ‘the law does

       not permit parties to swap horses between courts in order to get a better mount in

       the Supreme Court.’ ” State v. Sharpe, 344 N.C. 190, 194, 473 S.E.2d 3, 5 (1996)

       (emphasis added) (quoting Weil v. Herring, 207 N.C. 6, 10, 175 S.E. 836, 838 (1934)).

¶ 39         During the charge conference in the present case, defendant made the

       following objection to the trial court’s proposed jury instructions:

                    [Defendant] has a common-law right of self-defense. It’s not
                    abdicated by the statute. The statute speaks of a
                    justification under the statute of self-defense under
                    common law is not abdicated by that statute. We’d also
                    object under that [defendant] has a constitutional right to
                    defend his own life and under the due process clause of the
                    Fifth Amendment and the 14th Amendment, we believe
                    that the limitation of his right to defend his own life with
                    that application—with the Court’s application—or
                    interpretation and application of the statute would infringe
                    upon that due process right. And finally, that to do so is a
                    constitutional violation of that right.

¶ 40         Defendant’s objection provided two specific theories for why the trial court

       should instruct the jury on common-law self-defense: (1) section 14-51.4 does not

       disqualify the use of common-law self-defense; and (2) if section 14-51.4 does supplant

       the common law, then the trial court’s application of section 14-51.4 to limit

       defendant’s right to defend his own life would violate the Due Process Clause of both

       the Fifth and Fourteenth Amendments.
                                        STATE V. MCLYMORE

                                            2022-NCSC-12

                                  Newby, C.J., concurring in the result



¶ 41         On appeal, however, defendant now asserts a new theory: the trial court’s

       instruction was erroneous because it did not state that section 14-51.4 requires the

       State to prove a causal nexus between defendant’s commission of a felony and his use

       of defensive force. The majority’s conclusion that this new theory was either

       encompassed within defendant’s broad due process argument or apparent from the

       context is unfortunate. Based upon the majority’s reasoning, a defendant could

       generally assert before the trial court that an instruction violates his due process

       rights and later present on appeal any number of theories to support the overbroad

       challenge. This is precisely what Rule 10’s specificity requirement seeks to avoid. See

       N.C. R. App. P. 10(a)(1); Sharpe, 344 N.C. at 194, 473 S.E.2d at 5. Therefore, since

       defendant’s causal nexus argument is not preserved for appellate review, the Court

       should not address it.

¶ 42         Even if defendant’s causal nexus argument were preserved, it is without merit.

       The primary endeavor of courts in construing a statute is to give effect to legislative

       intent. Liberty Mut. Ins. Co. v. Pennington, 356 N.C. 571, 574, 573 S.E.2d 118, 121
       (2002); Stevenson v. City of Durham, 281 N.C. 300, 303, 188 S.E.2d 281, 283 (1972).

       If the statutory language is clear and unambiguous, a court should give the words

       their plain and definite meaning. Fowler v. Valencourt, 334 N.C. 345, 348, 435 S.E.2d

       530, 532 (1993). When, however, “a statute is ambiguous, judicial construction must

       be used to ascertain the legislative will.” Burgess v. Your House of Raleigh, Inc., 326
                                           STATE V. MCLYMORE

                                               2022-NCSC-12

                                     Newby, C.J., concurring in the result



       N.C. 205, 209, 388 S.E.2d 134, 136–37 (1990). Furthermore, “where a literal

       interpretation of the language of a statute will lead to absurd results, or contravene

       the manifest purpose of the Legislature, as otherwise expressed, the reason and

       purpose of the law shall control and the strict letter thereof shall be disregarded.”

       Mazda Motors of Am., Inc. v. Sw. Motors, Inc., 296 N.C. 357, 361, 250 S.E.2d 250, 253
       (1979) (quoting State v. Barksdale, 181 N.C. 621, 625, 107 S.E. 505, 507 (1921)).

¶ 43          The relevant portion of section 14-51.4 states that “[t]he justification described

       in . . . [N.C.]G.S. [§] 14-51.3 is not available to a person who used defensive force and

       who . . . [w]as attempting to commit, committing, or escaping after the commission of

       a felony.” N.C.G.S. § 14-51.4 (2021). This language is unambiguous and clearly does

       not include a causal nexus requirement. Nonetheless, the majority claims that it

       would be absurd to interpret section 14-51.4 literally because it would effectively bar

       all convicted felons from ever using a firearm in self-defense. The majority, however,

       ignores the fact that section 14-51.4 in no way prevents felons from legally defending

       themselves with other weapons. This result is not absurd.1 Rather, it reflects a policy

       decision to limit the use of self-defense to the law-abiding. Such an intent is certainly

       sensible given the State’s substantial interests in protecting its citizens and deterring




              1 While this result, on the facts before us, is not so absurd as to require an
       interpretation of the statute different than its plain language, we note that defendant did not
       preserve any constitutional arguments. Accordingly, we express no opinion on whether this
       interpretation violates any federal or state constitutional rights.
                                          STATE V. MCLYMORE

                                              2022-NCSC-12

                                    Newby, C.J., concurring in the result



       recidivism. See State v. Hilton, 378 N.C. 692, 2021-NCSC-115, ¶ 27; Mazda Motors of

       Am., Inc., 296 N.C. at 361, 250 S.E.2d at 253 (“If the language of a statute is free from

       ambiguity and expresses a single, definite, and sensible meaning, judicial

       interpretation is unnecessary and the plain meaning of the statute controls.”).

¶ 44           Here defendant’s behavior was far from law-abiding. At trial, defendant

       admitted that he was a convicted felon due to his previous convictions of common-law

       robbery, larceny of a firearm, and assault inflicting serious bodily injury. He also

       admitted that on 24 March 2014, he entered Andre Womack’s house, engaged in an

       altercation with Womack over money, took Womack’s gun, and shot Womack. The

       next month, defendant used the same gun to rob2 and kill David Washington.

       Defendant’s unlawful possession of the gun enabled him to commit murder.

¶ 45           At the time that defendant killed Washington, he was committing the felonies

       of possession of a firearm by a felon, see N.C.G.S. § 14-415.1(a) (2021), and robbery

       with a dangerous weapon, see N.C.G.S. § 14-87(a) (2021). Section 14-51.4 thus

       disqualifies defendant’s use of perfect self-defense. Therefore, I concur in the result

       only.

               Justice BARRINGER joins in this concurring opinion.




               2 The jury found defendant guilty of robbery with a dangerous weapon.
